                                                                                       Case 5:24-mc-80091-NC Document 44-3 Filed 09/17/24 Page 1 of 2



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                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                                   In re Application of BANCO AZTECA S.A.              )   Case No. 5:24-mc-80091-NC
                                                                                 9 INSTITUCIÓN DE BANCA MÚLTIPLE, for an               )
                                                                                   Order Pursuant to 28 U.S.C. § 1782 Authorizing      )   [PROPOSED] ORDER GRANTING
                                                                                10 Discovery for Use in a Foreign Proceeding           )   NON-PARTY X, META AND GOOGLE
                                                                                                                                       )   ACCOUNT HOLDERS’ NOTICE OF
                                                                                11                                                     )   MOTION AND MOTION TO QUASH
                                                                                                                                       )   AND/OR FOR PROTECTIVE ORDER
                                                                                12                                                     )
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                                                                       )
COZEN O’ CONNOR




                                                                                13                                                     )
                                                        LOS ANGELES, CA 90017




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                                                                                16         The Court, having considered the X Account Holders, John Doe 1 a.k.a @FreddyOliviery

                                                                                17 and John Doe 2 a.ka. @PonchoGutz; Meta Account Holders, John Doe 3 a.k.a. “Luis Guillermo

                                                                                18 Hernández” and John Doe 4 a.k.a. “Hans Salazar”; and Google LLC Account Holder, John Doe 5

                                                                                19 a.k.a. “SinCensuraTVMedia” (collectively, the “Non-Party Movants”) Notice of Motion and

                                                                                20 Motion to Quash and/or For Protective Order, and all papers and arguments in support thereof and

                                                                                21 opposition thereto, and for good cause shown, HEREBY ORDERS as follows:

                                                                                22         IT IS HEREBY ORDERED that Non-Party Movants’ Motion is GRANTED.

                                                                                23         IT IS FURTHER ORDERED that Banco Azteca, S.A. Institución de Banca Múltiple’s

                                                                                24 (“Banco Azteca”) Amended Ex Parte Application for an Order Pursuant to 28 U.S.C. § 1782

                                                                                25 Authorizing Discovery for Use in a Foreign Proceeding (ECF No. 39) is HEREBY DENIED

                                                                                26 WITH PREJUDICE.

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                                                                                      [PROPOSED] ORDER GRANTING NON-PARTY X, META AND GOOGLE ACCOUNT
                                                                                     HOLDERS’ NOTICE OF MOTION AND MOTION TO QUASH AND/OR FOR PROTECTIVE
                                                                                                         ORDER - Case No. 5:24-mc-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44-3 Filed 09/17/24 Page 2 of 2



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                                                                                           IT IS FURTHER ORDERED that the Subpoenas issued by Banco Azteca to X Corp., Meta
                                                                                 2
                                                                                     Platforms, Inc., and Google, LLC (ECF No. 39-5), each dated August 20, 2024, are HEREBY
                                                                                 3
                                                                                     QUASHED.
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                                                                                 6 IT IS SO ORDERED

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                                                                                     Dated: _________________
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                                                                                                                              __________________________________
                                                                                10                                            Honorable Nathanael M. Cousins
                                                                                11                                            United States Magistrate Judge

                                                                                12
                  6601 S. FIGUEROA STREET, SUITE 3700
COZEN O’ CONNOR




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                                                        LOS ANGELES, CA 90017




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                                                                                      [PROPOSED] ORDER GRANTING NON-PARTY X, META AND GOOGLE ACCOUNT
                                                                                     HOLDERS’ NOTICE OF MOTION AND MOTION TO QUASH AND/OR FOR PROTECTIVE
                                                                                                         ORDER - Case No. 5:24-mc-80091-NC
